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                          UNITED STATES DISTRICT COURT
                            DISTRICT OF CONNECTICUT

HELENA MOORE

v.                                           CASE NO. 3:14 cv 1557 (JAM)

WILLIAM G. REVELEY
WILLIAM G. REVELEY & ASSOCIATES LLC


                        NOTICE OF VOLUNTARY DISMISSAL

       Pursuant to Rule 41(a)(l), plaintiff hereby dismisses the within action without

costs or fees based on the parties’ settlement agreement.

                                             THE PLAINTIFF




                                             BY____/s/ Joanne S. Faulkner___
                                             JOANNE S. FAULKNER ct04137
                                             123 Avon Street
                                             New Haven, CT 06511-2422
                                             (203) 772-0395


       Certificate of Service

        I hereby certify that on November 7, 2014, a copy of foregoing Notice of Dismissal
was filed electronically. Notice of this filing will be sent by e-mail to all parties by
operation of the Court’s electronic filing system. Parties may access this filing through the
Court’s system.

                                                  ____/s/ Joanne S. Faulkner___
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